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                                                      UNITED STATES DISTRICT COURT
                                                      SOUTHERN DISTRICT OF FLORIDA

                                                      CASE NO.: 1:18-cv-24100-MGC
  DIGNA VINAS,

         Plaintiff,
  vs.

  THE INDEPENDENT ORDER OF
  FORESTERS,

        Defendant.
  ______________________________/

                   PLAINTIFF’S RESPONSE IN OPPOSITION TO
              DEFENDANT’S MOTION FOR LEAVE TO FILE SUR-REPLY

         Plaintiff, Digna Vinas (“Vinas”), by and through undersigned counsel and pursuant to

  S.D. Fla. L.R. 7.1(c), hereby files her Response in Opposition to Foresters’ Motion for Leave

  to File Sur-Reply (D.E. 80) and states:

         1.      It is too-well settled to be disputed that sur-replies are appropriate only where

  the reply improperly raises new arguments, issues, matters, etc.            See Federal Trade

  Commission v. Lalonde, 545 Fed. Appx., 825, 836 (Magistrate did not abuse discretion in

  striking a sur-reply when the party filing the reply did not raise any new issues); In re: Herman

  v. W elt, 214 WL 11428191 (S.D. Fla., June 5, 2014), n. 1 (Motion to file sur-reply denied

  when reply brief did not raise new arguments); Rivera v. Servis One, Inc., 2018 WL 6448419

  (M.D. Fla., Oct. 16, 2018) (same); Fillichio v. M.R.S. Associates, Inc., 210 WL 4261442

  (S.D. Fla., Oct. 19, 2019), n. 1.

         2.      In the present case, not only did Vinas not raise any new arguments in her

  Reply (D.E. 79), Foresters’ Motion to file a sur-reply doesn’t even allege Vinas raised any new

  matters. Even a cursory review of Vinas’ Reply reflects it literally tracks Foresters’ Response

  argument-by-argument. Nothing new was raised.
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         3.      F oresters’ basis for requesting a sur-reply, to cite cases and amplify an argument

  that was previously available but either not argued or insufficiently argued, is not a valid basis

  for a sur-reply. Further, Foresters’ Motion to File the Sur-Reply, already improperly presents

  legal argument responding to Vinas’ Reply without leave of Court in violation of S.D. Fla.

  L.R. 7.1(c).

          WHEREFORE, Plaintiff, Digna Vinas, respectfully requests this Court deny

  Defendant, Foresters’, Motion for Leave to File a Sur-Reply.

                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY a true and correct copy o f the foregoing has been electronically

  filed with the Court and a copy has been served on April 20, 2020 on: Kristina B. Pett, Esq.

  Kristina.pett@mhnp.com and Danielle Shure, Esq., Danielle.shure@mhllp.com, McDowell,

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